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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                     CRIMINAL ACTION

VERSUS                                                       NO. 2:16-cr-110

ZANDREA JOHNSON                                              SECTION “T” (4)

                                             ORDER

       IT IS ORDERED that Craig H. Stewart be and Mover is hereby recognized as attorney for Zandrea

Johnson.

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                                                     HONORABLE JAY C. ZAINEY
                                                     UNITED STATES DISTRICT JUDGE
